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.2
tems Inc.
                                             UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                              SAN FERNANDO VALLEY DIVISION


        In re:                                             §
                                                           §
        MERIDIAN HEALTH CARE                               §     Case No. 01:06-10733 GM
        MANAGEMENT INC
                                                           §
                            Debtor(s)                      §

                        CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                        REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                        ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                DAVID R. HAGEN, chapter 7 trustee, submits this Final Account, Certification that the
        Estate has been Fully Administered and Application to be Discharged.

                1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
        and, if applicable, any order of the Court modifying the Final Report. The case is fully
        administered and all assets and funds which have come under the trustee’s control in this case
        have been properly accounted for as provided by law. The trustee hereby requests to be
        discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
        discharged without payment, and expenses of administration is provided below:


        Assets Abandoned: 1,429,884.23                           Assets Exempt: 0.00
        (Without deducting any secured claims)

        Total Distributions to Claimants: 0.00                   Claims Discharged
                                                                 Without Payment: 24,056,809.04

        Total Expenses of Administration: 758,707.27




                3) Total gross receipts of $ 758,707.27 (see Exhibit 1), minus funds paid to the debtor
        and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 758,707.27 from the
        liquidation of the property of the estate, which was distributed as follows:




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                                                 CLAIMS            CLAIMS                  CLAIMS                CLAIMS
                                               SCHEDULED          ASSERTED                ALLOWED                 PAID



SECURED CLAIMS
(from Exhibit 3)                                       $ NA          $ 767,458.91            $ 767,458.91               $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                       NA            758,707.27              758,707.27           758,707.27

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                               NA                   NA                      NA                   NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                NA          3,648,959.28            3,628,979.86                 0.00

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                                  NA         20,567,569.18           20,427,829.18                 0.00

TOTAL DISBURSEMENTS                                    $ NA       $ 25,742,694.64         $ 25,582,975.22         $ 758,707.27


                  4) This case was originally filed under chapter 7 on 05/16/2006 . The case was pending
          for 70 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 02/27/2012                       By:/s/DAVID R. HAGEN
                                                                                Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                        EXHIBITS TO
                                                      FINAL ACCOUNT


           EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                             UNIFORM                         $ AMOUNT
                                                                 TRAN. CODE1                      RECEIVED

FINANCIAL ACCOUNTS                                                1129-000                                173.84

FINANCIAL ACCOUNTS                                                1129-000                            81,164.49

INSURANCE POLICIES                                                1129-000                               1,806.27

INTERESTS IN PARTNERSHIPS OR JOINT                                1129-000                               8,577.41

CONTINGENT CLAIMS                                                 1224-000                                278.16

REFUND OF RETAINER                                                1229-000                               1,045.52

 OTHER PERSONAL PROPERTY                                          1229-000                               8,479.64

 Preference/Fraudulent Transfer Litigation                        1241-000                            60,000.00

PREFERENCE - EMDEON                                               1241-000                            20,000.00

 PREFERENCE - HUNTER, et al                                       1241-000                               4,500.00

 PREFERENCE - IRON MOUNTAIN                                       1241-000                               7,303.32

PREFERENCE - BERGESON                                             1241-000                               5,250.00

 PREFERENCE - AMERICAN EXPRESS                                    1241-000                            60,000.00

PREFERENCE-TRIANA AT WARNER
CENTER LLC                                                        1241-000                            29,866.00




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                             DESCRIPTION                                   UNIFORM                                $ AMOUNT
                                                                          TRAN. CODE1                             RECEIVED

    PREFERENCE-PAYCHEX                                                       1241-000                                    2,112.00

    PREFERENCE-JUNG                                                          1241-000                                    4,085.00

PREFERENCE- AFFILIATED COMPUTER
SERVICES, INC.                                                               1241-000                                 35,000.00

    PREFERENCE - e4e                                                         1241-000                                225,000.00

    CONTINGENT CLAIMS                                                        1249-000                                177,266.50

    Post-Petition Interest Deposits                                          1270-000                                    2,557.73

    SECURITY DEPOSITS                                                        1290-000                                 15,551.62

CASH                                                                         1290-000                                      54.86

    OTHER LIQUIDATED DEBTS                                                   1290-000                                     637.76

    OTHER LIQUIDATED DEBTS                                                   1290-000                                    7,830.66

    OTHER LIQUIDATED DEBTS                                                   1290-000                                     166.49

TOTAL GROSS RECEIPTS                                                                                                $ 758,707.27
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                         UNIFORM       $ AMOUNT
                                                                                                   TRAN. CODE        PAID

NA                                                                                                      NA                   NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                               $ 0.00
THIRD PARTIES




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            EXHIBIT 3 – SECURED CLAIMS

                                               UNIFORM         CLAIMS
                                                                               CLAIMS           CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.       SCHEDULED                                           CLAIMS PAID
                                                                              ASSERTED         ALLOWED
                                                CODE       (from Form 6D)

            DE LAGE LANDEN
000039      FINANCIAL SERVICES,                4210-000                 NA       568,101.68       568,101.68                0.00


            US BANCORP BUSINESS
000019      EQUIPMENT FINAN                    4210-000                 NA       199,357.23       199,357.23                0.00

TOTAL SECURED CLAIMS                                                  $ NA      $ 767,458.91     $ 767,458.91             $ 0.00


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                            CLAIMS            CLAIMS            CLAIMS
              PAYEE                        TRAN.                                                                CLAIMS PAID
                                                          SCHEDULED          ASSERTED          ALLOWED
                                           CODE

DAVID R. HAGEN                            2100-000                    NA         41,185.36         41,185.36           41,185.36


DAVID R. HAGEN                            2200-000                    NA          2,946.81          2,946.81            2,946.81


GLOBAL SURETY LLC                         2300-000                    NA           -281.31           -281.31             -281.31


INTERNATIONAL SURETIES                    2300-000                    NA             15.14             15.14               15.14


INTERNATIONAL SURETIES                    2300-000                    NA            932.17            932.17             932.17


INTERNATIONAL SURETIES                    2300-000                    NA                3.30             3.30               3.30


INTERNATIONAL SURETIES                    2300-000                    NA             11.89             11.89               11.89


INTERNATIONAL SURETIES                    2300-000                    NA                0.78             0.78               0.78


INTERNATIONAL SURETIES                    2300-000                    NA            281.31            281.31             281.31




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                                          UNIFORM
                                                       CLAIMS          CLAIMS          CLAIMS
              PAYEE                        TRAN.                                                      CLAIMS PAID
                                                     SCHEDULED        ASSERTED        ALLOWED
                                           CODE

INTERNATIONAL SURETIES                    2300-000               NA          101.53          101.53            101.53


INTERNATIONAL SURETIES                    2300-000               NA          256.15          256.15            256.15


INTERNATIONAL SURETIES                    2300-000               NA           38.94           38.94              38.94


INTERNATIONAL SURETIES                    2300-000               NA          374.00          374.00            374.00


INTERNATIONAL SURETIES LTD                2300-000               NA           35.43           35.43              35.43


INTERNATIONAL SURETIES, LTD               2300-000               NA          198.88          198.88            198.88


STORAGE ETC.                              2410-000               NA        9,075.00        9,075.00           9,075.00


STORAGE ETC.                              2410-000               NA        6,252.00        6,252.00           6,252.00


BANK OF AMERICA                           2600-000               NA         -907.40         -907.40            -907.40


BANK OF AMERICA, N.A.                     2600-000               NA          907.40          907.40            907.40


U.S. BANKRUPTCY COURT                     2700-000               NA        4,250.00        4,250.00           4,250.00


FRANCHISE TAX BOARD                       2820-000               NA          829.28          829.28            829.28


BEARD, MILTON                             2990-000               NA       10,500.00       10,500.00          10,500.00


PAYCHEX, INC.                             2990-000               NA        1,300.00        1,300.00           1,300.00


EZRA BRUTZKUS GUBNER LLP                  3210-000               NA      594,790.06      594,790.06       594,790.06


EZRA BRUTZKUS GUBNER LLP                  3220-000               NA       22,392.79       22,392.79          22,392.79


BIGGS & COMPANY                           3410-000               NA       53,142.24       53,142.24          53,142.24




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                                          UNIFORM
                                                             CLAIMS           CLAIMS              CLAIMS
              PAYEE                        TRAN.                                                                  CLAIMS PAID
                                                           SCHEDULED         ASSERTED            ALLOWED
                                           CODE

BIGGS & COMPANY                           3420-000                     NA           1,300.15          1,300.15           1,300.15


EMAG SOLUTIONS, LLC                       3420-000                     NA             800.00            800.00            800.00


EMAG SOLUTIONS, LLLC                      3420-000                     NA           5,475.37          5,475.37           5,475.37


TOTAL SHREDDING                           3992-000                     NA           2,500.00          2,500.00           2,500.00

TOTAL CHAPTER 7 ADMIN. FEES                                         $ NA       $ 758,707.27       $ 758,707.27       $ 758,707.27
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                          UNIFORM
                                                             CLAIMS           CLAIMS              CLAIMS
              PAYEE                        TRAN.                                                                  CLAIMS PAID
                                                           SCHEDULED         ASSERTED            ALLOWED
                                           CODE

NA                                             NA                      NA                NA                NA                NA

TOTAL PRIOR CHAPTER ADMIN.                                          $ NA               $ NA              $ NA               $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                               CLAIMS           CLAIMS
                                               UNIFORM
                                                             SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                             CLAIMS PAID
                                                              (from Form     (from Proofs of     ALLOWED
                                                CODE
                                                                  6E)            Claim)

            ADVANSTAR
000046B     COMMUNICATIONING                    5200-000                NA            2,225.00         2,225.00              0.00


000010B     AVAYA INC                           5200-000                NA            4,658.03         4,658.03              0.00


000041B     AVAYA INC.                          5200-000                NA            4,658.03         4,658.03              0.00




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                                                            CLAIMS          CLAIMS
                                               UNIFORM
                                                          SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                         CLAIMS PAID
                                                           (from Form    (from Proofs of     ALLOWED
                                                CODE
                                                               6E)           Claim)

000004B     SUNGARD                            5200-000             NA          19,979.42        19,979.42             0.00


000050B     SUNGARD                            5200-000             NA                0.00             0.00            0.00


000051B     SUNGARD                            5200-000             NA          19,979.42              0.00            0.00


000022B     ALPER MICHAEL J                    5300-000             NA            1,318.00        1,318.00             0.00


000030      PULIIO ARACELI                     5300-000             NA                0.00             0.00            0.00


            KAISER FOUNDATION
000023      HEALTH PLAN                        5400-000             NA            3,129.20        3,129.20             0.00


000029      CITY OF LOS ANGELES                5800-000             NA         596,523.67      596,523.67              0.00


            DELAWARE SECRETARY
000044      OF STATE&NBSP &N                   5800-000             NA          19,923.26        19,923.26             0.00


            DEPARTMENT OF THE
000028B     TREASURY                           5800-000             NA       1,333,059.29     1,333,059.29             0.00


            EMPLOYMENT
            DEVELOPMENT
000040B     DEPARTMENT                         5800-000             NA         309,691.41      309,691.41              0.00


000054B     INTERNAL REVENUE                   5800-000             NA       1,332,749.29     1,332,749.29             0.00


            INTERNAL REVENUE
000058      SERVICE                            5800-000             NA              190.00          190.00             0.00




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                                                            CLAIMS           CLAIMS
                                               UNIFORM
                                                          SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                          CLAIMS PAID
                                                           (from Form     (from Proofs of     ALLOWED
                                                CODE
                                                               6E)            Claim)

            STATE BOARD OF
            EQUALIZATION&NBSP
000052      &N                                 5800-000             NA               875.26           875.26            0.00

TOTAL PRIORITY UNSECURED                                           $ NA     $ 3,648,959.28    $ 3,628,979.86           $ 0.00
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS           CLAIMS
                                               UNIFORM
                                                          SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                  TRAN.                                                          CLAIMS PAID
                                                           (from Form     (from Proofs of     ALLOWED
                                                CODE
                                                               6F)            Claim)

            ADVANSTAR
000046A     COMMUNICATIONING                   7100-000             NA           70,529.85         70,529.85            0.00


000020      ALL TEMPORARIESINC                 7100-000             NA          100,529.00       100,529.00             0.00


000021      ALPER MICHAEL J                    7100-000             NA           20,447.46         20,447.46            0.00


000022A     ALPER MICHAEL J                    7100-000             NA           33,182.00         33,182.00            0.00


            AMERICAN EXPRESS
000038      TRAVEL RELATED SVC                 7100-000             NA           23,451.15         23,451.15            0.00


000010A     AVAYA INC                          7100-000             NA           32,105.72         32,105.72            0.00


000041A     AVAYA INC.                         7100-000             NA           45,468.88         45,468.88            0.00


000033      BABBITT TONIA                      7100-000             NA                 0.00             0.00            0.00




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                                                             CLAIMS          CLAIMS
                                                UNIFORM
                                                           SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form    (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)           Claim)

            CHAPARRAL BUSINESS
000016      MACHINE INC                         7100-000             NA              646.94         646.94              0.00


            CITICORP VENDOR
000035      FINANCE INC                         7100-000             NA         181,814.30      181,814.30              0.00


            CONTRARIAN FUNDS,
000013      LLC                                 7100-000             NA          47,653.55       47,653.55              0.00


            DATA SYSTEMS
000007      WORLDWIIEINC                        7100-000             NA            8,286.92       8,286.92              0.00


            DE LAGE LANDEN
000001      FINANCIAL                           7100-000             NA         559,137.67      559,137.67              0.00


            DEPARTMENT OF THE
000028A     TREASURY                            7100-000             NA         441,692.27      441,692.27              0.00


000042      E4E INC                             7100-000             NA                0.00             0.00            0.00


            EDMUND JUNG &
000008      ASSOCIATES INC                      7100-000             NA         201,414.48      201,414.48              0.00


            EMPLOYMENT
            DEVELOPMENT
000040A     DEPARTMENT                          7100-000             NA          47,270.24       47,270.24              0.00


            FAMILY/SENIORS
000045      MEDICAL GROUP, INC.                 7100-000             NA         963,175.89      963,175.89              0.00


000002      FEDERAL EXPRESS CORP                7100-000             NA            7,351.99       7,351.99              0.00




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                                                             CLAIMS          CLAIMS
                                                UNIFORM
                                                           SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form    (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)           Claim)

000005      HARRIS STATIONERS INC 7100-000                           NA            4,602.26       4,602.26              0.00


            HEARTLAND BUSINESS
000032      CREDIT CORP                         7100-000             NA          94,086.22       94,086.22              0.00


            HERSHEY
000012      TECHNOLOGIES                        7100-000             NA            1,090.22       1,090.22              0.00


000031      IBM CREDIT                          7100-000             NA                0.00             0.00            0.00


            INGENIUM
            RESOURCES&NBSP
000014      &NBSP <A HR                         7100-000             NA            3,571.20       3,571.20              0.00


            INITIAL TROPICAL
000036      PLANTS                              7100-000             NA            1,040.77       1,040.77              0.00


000054A     INTERNAL REVENUE                    7100-000             NA         441,692.27      441,692.27              0.00


            KENNEDY LOCK AND
000025      SAFE&NBSP &NBSP <A                  7100-000             NA               59.33          59.33              0.00


            LANGUAGE LINE
000024      SERVICES&NBSP &NBSP < 7100-000                           NA            6,067.73       6,067.73              0.00


            LOS ANGELES COUNTY
000003      TREASURER                           7100-000             NA         138,573.89      138,573.89              0.00


            MONARCH
000017      MERCHANDISING                       7100-000             NA              178.99         178.99              0.00


000015      NIH RESEARCH                        7100-000             NA          30,000.00       30,000.00              0.00




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                                                             CLAIMS          CLAIMS
                                                UNIFORM
                                                           SCHEDULED        ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                         CLAIMS PAID
                                                            (from Form    (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)           Claim)

            NORTHRIDGE MEDICAL
000049      GROUP, INC.                         7100-000             NA       7,424,562.00     7,424,562.00             0.00


000009      PITNEY BOWES CREDIT                 7100-000             NA          17,857.98        17,857.98             0.00


            PITNEY BOWES CREDIT
000006      CORP                                7100-000             NA          49,665.23        49,665.23             0.00


            PITNEY BOWES CREDIT
000037      CORP                                7100-000             NA          45,959.49        45,959.49             0.00


            ROBERT HALF
000011      TECHNOLOGY                          7100-000             NA            8,820.00        8,820.00             0.00


000027      SERVICEMASTER CBM                   7100-000             NA              795.00          795.00             0.00


000026      SOFT CHOICE                         7100-000             NA            2,733.04        2,733.04             0.00


000048      STATE COMP INS FUND                 7100-000             NA         213,227.44      213,227.44              0.00


000043      STEPTOE & JOHNSON LLP 7100-000                           NA            2,161.25        2,161.25             0.00


000004A     SUNGARD                             7100-000             NA         139,740.00      139,740.00              0.00


000050A     SUNGARD                             7100-000             NA                0.00             0.00            0.00


000051A     SUNGARD                             7100-000             NA         139,740.00              0.00            0.00


            UNUM LIFE INSURANCE
000034      COMPANY OF AMER                     7100-000             NA            4,787.85        4,787.85             0.00


000018      VIP OFFICE SUPPLIES                 7100-000             NA              610.53          610.53             0.00




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                                                             CLAIMS           CLAIMS
                                                UNIFORM
                                                           SCHEDULED         ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                            (from Form     (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)            Claim)

            AFFILIATED COMPUTER
000047      SERVICES INC                        7200-000             NA           51,268.21          51,268.21            0.00


000053      GREGORY T. HERWIG                   7200-000             NA           12,895.18          12,895.18            0.00


000056      MIDCOAST CARE, INC                  7200-000             NA        3,439,192.00       3,439,192.00            0.00


000057      MIDCOAST CARE, INC                  7200-000             NA        5,508,432.79       5,508,432.79            0.00


            WATTSHEALTH
000055      FOUNDATION INC DBA                  7200-000             NA                 0.00              0.00            0.00

TOTAL GENERAL UNSECURED                                             $ NA   $ 20,567,569.18     $ 20,427,829.18           $ 0.00
CLAIMS




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                                                                                                                                                                Desc
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                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                 Page:       1
                                                                                         ASSET CASES                                                                                             Exhibit 8
Case No:            01:06-10733    GM     Judge: GERALDINE MUND                                                           Trustee Name:                      DAVID R. HAGEN
Case Name:          MERIDIAN HEALTH CARE MANAGEMENT INC                                                                   Date Filed (f) or Converted (c):   05/16/06 (f)
                                                                                                                          341(a) Meeting Date:               06/22/06
For Period Ending: 02/27/12                                                                                               Claims Bar Date:                   09/06/06



                                     1                                    2                          3                         4                         5                                 6
                                                                                            Estimated Net Value            Property
                                                                      Petition/        (Value Determined by Trustee,      Abandoned                 Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled          Less Liens, Exemptions,      OA=554(a) Abandon            Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values                and Other Costs)          DA=554(c) Abandon             the Estate

 1. FINANCIAL ACCOUNTS                                                        173.26                        173.26                                             173.84                   FA
     Cadre Institutional Investors Trust
     (Account # 51143
     c/o Network Health Financial Services
     11845 W. Olympic Blvd.
     Los Angeles, CA 90064
 2. FINANCIAL ACCOUNTS                                                        658.35                           0.00           DA                                  0.00                  FA
     Operations - Business Checking
     (Acct. # 4622812)
     Preferred Bank
     1801 Century Park East, Suite 100
     Los Angeles, CA 90067
 3. FINANCIAL ACCOUNTS                                                   77,310.39                       77,310.39                                           81,164.49                  FA
     General- Business Checking
     (Acct. # 4612299)
     Preferred Bank
     1801 Century Park East, Suite 100
     Los Angeles, CA 90067
 4. FINANCIAL ACCOUNTS                                                    7,830.20                             0.00           DA                                  0.00                  FA
     Payroll - Business Checking
     (Acct. # 4612302)
     Preferred Bank
     1801 Century Park East, Suite 100
     Los Angeles, CA 90067
 5. SECURITY DEPOSITS (u)                                                       0.00                     10,000.00                                           15,551.62                  FA
     Postage balance
     Advanced Business Fulfillment, LLC
 6. INSURANCE POLICIES                                                    Unknown                           992.17                                            1,806.27                  FA



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                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                 Page:       2
                                                                                        ASSET CASES                                                                                              Exhibit 8
Case No:            01:06-10733    GM     Judge: GERALDINE MUND                                                          Trustee Name:                       DAVID R. HAGEN
Case Name:          MERIDIAN HEALTH CARE MANAGEMENT INC                                                                  Date Filed (f) or Converted (c):    05/16/06 (f)
                                                                                                                         341(a) Meeting Date:                06/22/06
                                                                                                                         Claims Bar Date:                    09/06/06



                                     1                                    2                         3                         4                         5                                  6
                                                                                           Estimated Net Value            Property
                                                                      Petition/       (Value Determined by Trustee,      Abandoned                 Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled         Less Liens, Exemptions,      OA=554(a) Abandon            Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)          DA=554(c) Abandon             the Estate

 7. CASH (u)                                                                  54.86                          54.86                                               54.86                  FA
 8. CONTINGENT CLAIMS (u)                                                      0.00                        278.16                                              278.16                   FA
     Franchise Tax Board refund
 9. VOID (u)                                                              Unknown                             0.00                                                0.00                  FA
 10. INTERESTS IN PARTNERSHIPS OR JOINT                                   Unknown                             0.00                                            8,577.41                  FA
     CARE PARTNERS NETWORK MANAGEMENT LLC
     1800 HARRISON ST. 22ND FLOOR
     OAKLAND, CA 94612
 11. ACCOUNTS RECEIVABLE                                               1,420,171.68                           0.00           DA                                   0.00                  FA
     FAMILY SENIOR MEDICAL GROUP    $257,996.97
     GREATER CHICAGO MEDICAL ASSOC. $168,964.18
     MIDCOAST CARE INC.            $192,377.61
     NORTHRIDGE IPA               $766,539.04
 12. VOID (u)                                                             Unknown                             0.00                                                0.00                  FA
 13. CONTINGENT CLAIMS (u)                                                     0.00                     100,000.00                                          177,266.50                  FA
     CLAIMS AGAINST OFFICERS AND DIRECTORS LIABILITY
     INSURANCE POLCY
 14. PATENTS, COPYRIGHTS, INT. PROP.                                      Unknown                             0.00           DA                                   0.00                  FA
     REGISTERED TRADEMARKS:
     PRIMERIDIAN, REG. NO. 2,725,2688 REGISTERED 6/10/03
     PRIMERIDIAN DIRECT, REG. NO. 2,726,597 REGISTERED 6/17/03
     WEBIPIX, REG. NO. 2,413,958 REGISTERED 12/19/00
 15. GENERAL INTANGIBLES (u)                                                   0.00                      20,000.00           DA                                   0.00                  FA
     BILLING SOFTWARE PROGRAM
 16. OFFICE EQUIPMENT                                                     Unknown                             0.00           DA                                   0.00                  FA
 17. OTHER MISCELLANEOUS                                                   1,224.00                           0.00           DA                                   0.00                  FA
     PREPAID STORAGE UNIT



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                                                                                                 ASSET CASES                                                                                              Exhibit 8
Case No:            01:06-10733    GM     Judge: GERALDINE MUND                                                                   Trustee Name:                       DAVID R. HAGEN
Case Name:          MERIDIAN HEALTH CARE MANAGEMENT INC                                                                           Date Filed (f) or Converted (c):    05/16/06 (f)
                                                                                                                                  341(a) Meeting Date:                06/22/06
                                                                                                                                  Claims Bar Date:                    09/06/06



                                     1                                              2                        3                         4                         5                                  6
                                                                                                    Estimated Net Value            Property
                                                                                Petition/      (Value Determined by Trustee,      Abandoned                 Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                                Unscheduled        Less Liens, Exemptions,      OA=554(a) Abandon            Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                       Values              and Other Costs)          DA=554(c) Abandon             the Estate

     STORAGE ETC.
     6030 CANOGA AVE.
     WOODLAND HILLS, CA 91367
 18. REFUND OF RETAINER (u)                                                             0.00                       1,045.52                                            1,045.52                  FA
     Refund from Bergeson LLP for funds held by them for potential legal
     fees
 19. PREFERENCE - EMDEON (u)                                                        Unknown                       20,000.00                                           20,000.00                  FA
 20. PREFERENCE - HUNTER, et al (u)                                                     0.00                       4,500.00                                            4,500.00                  FA
     Settlement of preference action against Hunter Richey Di Benedetto &
     Eisenbeis, LLP
 21. PREFERENCE - IRON MOUNTAIN (u)                                                     0.00                       7,303.32                                            7,303.32                  FA
     Settlement with Iron Mountain as required under Stipulation for
     Compromise
 22. PREFERENCE - BERGESON (u)                                                          0.00                       5,250.00                                            5,250.00                  FA
     Bergeson, LLP - Final bankruptcy payback
 23. PREFERENCE - AMERICAN EXPRESS (u)                                                  0.00                      60,000.00                                           60,000.00                  FA
 24. PREFERENCE-TRIANA AT WARNER CENTER LLC (u)                                         0.00                      29,866.00                                           29,866.00                  FA
 25. PREFERENCE-PAYCHEX (u)                                                             0.00                       2,112.00                                            2,112.00                  FA
 26. PREFERENCE-JUNG (u)                                                                0.00                       4,085.00                                            4,085.00                  FA
 27. PREFERENCE- AFFILIATED COMPUTER SERVICES, INC. (u)                                 0.00                      35,000.00                                           35,000.00                  FA
     PER SETTLEMENT AGREEMENT, DATED MARCH 17, 2009.
     RETAINED IN SEGREGATED ACCOUNT UNTIL 15 DAYS AFTER
     COURT APPROVAL (APPROX, MAY 1, 2009)
 28. PREFERENCE - e4e (u)                                                               0.00                     225,000.00                                          225,000.00                  FA
     PER SETTLEMENT AGREEMENT DATED 9/28/10
 29. OTHER CONTINGENT CLAIMS                                                        Unknown                            0.00           DA                                   0.00                  FA




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                                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                              Page:        4
                                                                                                             ASSET CASES                                                                                                     Exhibit 8
Case No:             01:06-10733      GM     Judge: GERALDINE MUND                                                                                Trustee Name:                        DAVID R. HAGEN
Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                                          Date Filed (f) or Converted (c):     05/16/06 (f)
                                                                                                                                                  341(a) Meeting Date:                 06/22/06
                                                                                                                                                  Claims Bar Date:                     09/06/06



                                        1                                                    2                               3                         4                         5                                     6
                                                                                                                Estimated Net Value                Property
                                                                                        Petition/          (Value Determined by Trustee,          Abandoned                 Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                        Unscheduled            Less Liens, Exemptions,          OA=554(a) Abandon            Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                               Values                  and Other Costs)              DA=554(c) Abandon             the Estate

     2 Potential litigation claims against former officers and directors
 30. OTHER LIQUIDATED DEBTS (u)                                                              Unknown                                 637.76                                              637.76                      FA
     Refund - AT&T
 31. OTHER LIQUIDATED DEBTS (u)                                                              Unknown                                7,830.66                                            7,830.66                     FA
     CNA Overpayment Acct# 3002921714
 32. OTHER LIQUIDATED DEBTS (u)                                                              Unknown                                 166.49                                              166.49                      FA
     Quest Diagnostics, Inc. replaces check # 6152013
 33. OTHER PERSONAL PROPERTY (u)                                                             Unknown                                    0.00                                            8,479.64                             0.00
     Unclaimed property - unclaimed royalties, cash, deposit accounts,
     uncashed checks,
     insurance refunds, utility refunds, vendor refunds, credits, and the like
     (escheatable funds)
 INT. Post-Petition Interest Deposits (u)                                                    Unknown                                    N/A                                             2,557.73                 Unknown

                                                                                                                                                                                                      Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                      $1,507,422.74                            $611,605.59                                         $698,707.27                            $0.00
                                                                                                                                                                                                      (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   CASE SUMMARY:


   This is a large case that involves funds held in bank accounts, equipment, fraudulent conveyances, preferences, and
   claims against former officers and directors for fraud that could have resulted in the recovery of millions of dollars.
   The large claim against former directors and officers was lost in early 2009 as a result of losing a Summary Judgement
   Motion. The Court excluded some evidence on evidentiary grounds that would have created a significant liability for the



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                                                                                                             ASSET CASES                                                            Exhibit 8
Case No:              01:06-10733     GM    Judge: GERALDINE MUND                                                             Trustee Name:                      DAVID R. HAGEN
Case Name:            MERIDIAN HEALTH CARE MANAGEMENT INC                                                                     Date Filed (f) or Converted (c):   05/16/06 (f)
                                                                                                                              341(a) Meeting Date:               06/22/06
                                                                                                                              Claims Bar Date:                   09/06/06
   former officers and directors. There was a great deal of insurance to cover this liability. An appeal was filed and the
   entire matter was settled for $60,000.00. The preferences were settled resulting in approximately $168,000 in funds to
   the estate. A claim against another insurance policy, which had many claimants, was settled for $177,266. after a very
   long mediation and several "re-negotiations" thereafter. A claim against a successor entity, e4e, for fraudulent
   conveyance and preference was settled for $225,000. Approximately $80,000 was also recovered from the Debtor's bank
   account. Other smaller issues or assets were also liquidated for the benefit of the estate. Tax returns needed to be
   filed and authority needed to be obtained to abandon or destroy the Debtor's books, records and other personal property.
   These matters are now all complete and the estate is in a position to distribute funds.


   This case is administratively insolvent as just the legal fees exceed the funds on hand. However, it needs to be pointed
   out that majority of the legal fees were expended pursuing the large claim against the former officers and directors.
   If successful, this wold have brought many million into this estate. Unfortunately, this effort was not successful.


   Both the estate's attorney and the accountant have agreed to reduce their fees by approximately one-third to put this
   estate into a position to close.


   CASE ACTIVITY:


   06/02/06: Converted to Asset case
   06/05/06: Bar date set for September 6, 2006
   06/22/06; initial 341(a) hearing
   06/30/06: Application to employ Trustee accountant
   07/06/06: Order approving employment of accountant
   09/12/06: Application to employ Trustee counsel filed with Court.
   12/28/06: Motion for approval of cash disbursement filed
   01/18/07: Request for cash disbursement approved by Court
   03/07/07: Inventory of nine storage units completed.
   03/08/07: Adversary action filed against former directors of Debtor
   03/30/07: Court grants Relief from the automatic Stay for Insurance Company to reimburse director costs of defense
   04/07/07: Obtained Court authority for estate to pay payroll service to generate W-2 for former employees
   05/30/07: Motion for Remand filed, pending
   08/21/07: Complaint for Fraud filed against several defendants




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Case No:             01:06-10733      GM     Judge: GERALDINE MUND                                                            Trustee Name:                      DAVID R. HAGEN
Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                      Date Filed (f) or Converted (c):   05/16/06 (f)
                                                                                                                              341(a) Meeting Date:               06/22/06
                                                                                                                              Claims Bar Date:                   09/06/06
   09/29/07: Case review, litigation pending, still in pleading stage,
   02/17/08: T/C with atty Gubner re litigation status, all Defendants in except 2, e4e and Helinski, Motions to dismiss
   will continue as well as amending pleadings
   05/01/08: Reviewed preferences with Trustee counsel
   11/12/08: MSJ filed
   01/09/09: MSJ granted
   03/30/09: Case review: all prefential claims now complete.
   04/21/09: Signed settlement documents re settlement of appeal
   06/15/09; Case review, litigations continue
   09/15/09: Case review, litigation continues
   12/21/09: Case review, litigation continues,
   02/03/10: Attended all day settlement conference, reached settlement but parties withddrew the following day
   04/21/10: Action against the Director is settled, documents to follow, action against e4e is settled in principle.
   08/13/10: Filed Motion to approve compromise with e4e
   09/28/10 Motion approved
   10/06/10: Filed Motion to approve compromise with Alper, RSUI, Northridge Medical and Family/Senior Medical Group
   11/24/10: Motion approved
   01/24/11: Filed for Court Costs and Notice to Professionals
   02/09/11:Withdrew Notice to Professionals
   02/04/11: Received Statement of Court Costs - $2,550
   02/28/11: Received additional Statement of Court Costs. Total is $4,250
   07/12/11: Filed Notice to Professionals
   08/24/11: Trustee attorney filed Application for Compensation
   08/30/11: Accountant filed Application for Compensation
   09/13/11: Claims review
   09/27/11: Filed Motion to Disallow Claims 4, 50 & 51
   09/28/11: Drafted Final Report
   09/30/11: Submitted Final Report
   11/28/11: Received and deposited additional funds
   11/30/11: Revised and submitted Final Report


   Initial Projected Date of Final Report (TFR): 12/31/09            Current Projected Date of Final Report (TFR): 09/30/11




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Case No:            01:06-10733   GM    Judge: GERALDINE MUND                                        Trustee Name:                     DAVID R. HAGEN
Case Name:          MERIDIAN HEALTH CARE MANAGEMENT INC                                             Date Filed (f) or Converted (c):   05/16/06 (f)
                                                                                                    341(a) Meeting Date:               06/22/06
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             01:06-10733 -GM                                                                                      Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                  Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                            Account Number / CD #:             *******2606 BofA - Money Market Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                               Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                4                                            5                       6                   7
     Transaction      Check or                                                                                                     Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                  BALANCE FORWARD                                                                                                             0.00
          06/09/06                Transfer from Acct #*******2619                 Bank Funds Transfer                             9999-000               82,156.66                                      82,156.66
          06/20/06                Transfer from Acct #*******2619                 Bank Funds Transfer                             9999-000                    173.84                                    82,330.50
          06/30/06      INT       BANK OF AMERICA, N.A.                           Interest Rate 1.000                             1270-000                     49.57                                    82,380.07
          07/06/06                Transfer from Acct #*******2619                 Bank Funds Transfer                             9999-000               10,005.69                                      92,385.76
          07/10/06                Transfer from Acct #*******2619                 Bank Funds Transfer                             9999-000                     54.86                                    92,440.62
 *        07/24/06     000101     International Sureties LTD                      Blanket Bond Premium                            2300-003                                            35.43             92,405.19
                                  203 Carondelet St. Suite 500                    Allocation of Blanket Bond Premium
                                  New Orleans, LA 70130
 *        07/24/06     000101     International Sureties LTD                      Blanket Bond Premium                            2300-003                                            -35.43            92,440.62
                                  203 Carondelet St. Suite 500
                                  New Orleans, LA 70130
          07/24/06                Transfer to Acct #*******2619                   Bank Funds Transfer                             9999-000                                            35.43             92,405.19
          07/31/06      INT       BANK OF AMERICA, N.A.                           Interest Rate 1.000                             1270-000                     77.12                                    92,482.31
          08/29/06                Transfer from Acct #*******2619                 Bank Funds Transfer                             9999-000                        1.04                                  92,483.35
          08/31/06      INT       BANK OF AMERICA, N.A.                           Interest Rate 1.500                             1270-000                     82.35                                    92,565.70
          09/29/06      INT       BANK OF AMERICA, N.A.                           Interest Rate 1.500                             1270-000                    114.12                                    92,679.82
          10/09/06                Transfer from Acct #*******2619                 Bank Funds Transfer                             9999-000                   6,365.72                                   99,045.54
          10/31/06      INT       BANK OF AMERICA, N.A.                           Interest Rate 1.500                             1270-000                    123.83                                    99,169.37
          11/07/06                Transfer from Acct #*******2619                 Bank Funds Transfer                             9999-000                    278.16                                    99,447.53
          11/30/06      INT       BANK OF AMERICA, N.A.                           Interest Rate 1.500                             1270-000                    122.54                                    99,570.07
          12/29/06      INT       BANK OF AMERICA, N.A.                           Interest Rate 1.500                             1270-000                    126.85                                    99,696.92
          01/03/07                Transfer to Acct #*******2619                   Bank Funds Transfer                             9999-000                                           198.88             99,498.04
          01/23/07                Transfer to Acct #*******2619                   Bank Funds Transfer                             9999-000                                          9,075.00            90,423.04
          01/31/07      INT       BANK OF AMERICA, N.A.                           Interest Rate 1.500                             1270-000                    123.42                                    90,546.46
          02/27/07                Transfer to Acct #*******2619                   Bank Funds Transfer                             9999-000                                           800.00             89,746.46
          02/28/07      INT       BANK OF AMERICA, N.A.                           Interest Rate 1.500                             1270-000                    104.12                                    89,850.58
          03/13/07                Transfer to Acct #*******2619                   Bank Funds Transfer                             9999-000                                          1,300.00            88,550.58
          03/15/07                Transfer to Acct #*******2619                   Bank Funds Transfer                             9999-000                                       10,500.00              78,050.58

                                                                                                                            Page Subtotals               99,959.89                  21,909.31
                                                                                                                                                                                                        Ver: 16.05c
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             01:06-10733 -GM                                                                                     Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                 Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******2606 BofA - Money Market Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                              Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                              3                                                4                                            5                       6                   7
     Transaction      Check or                                                                                                    Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          03/30/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.500                             1270-000                    106.11                                    78,156.69
          04/30/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.500                             1270-000                     96.37                                    78,253.06
          05/02/07                Transfer to Acct #*******2619                  Bank Funds Transfer                             9999-000                                          5,475.37            72,777.69
          05/09/07                Transfer to Acct #*******2619                  Bank Funds Transfer                             9999-000                                          6,252.00            66,525.69
          05/31/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.500                             1270-000                     87.03                                    66,612.72
          06/29/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.500                             1270-000                     82.12                                    66,694.84
          07/31/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.500                             1270-000                     84.97                                    66,779.81
          08/31/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.500                             1270-000                     85.08                                    66,864.89
          09/12/07                Transfer to Acct #*******2619                  Bank Funds Transfer                             9999-000                                              3.30            66,861.59
          09/19/07                Transfer to Acct #*******2619                  Bank Funds Transfer                             9999-000                                            11.89             66,849.70
          09/28/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.500                             1270-000                     82.42                                    66,932.12
          10/31/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.200                             1270-000                     84.17                                    67,016.29
          11/14/07                Transfer to Acct #*******2619                  Bank Funds Transfer                             9999-000                                              0.78            67,015.51
          11/30/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.200                             1270-000                     66.10                                    67,081.61
          12/31/07      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.200                             1270-000                     68.37                                    67,149.98
          01/22/08                Transfer from Acct #*******2619                Bank Funds Transfer                             9999-000                   1,045.52                                   68,195.50
          01/31/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.500                             1270-000                     65.09                                    68,260.59
          02/04/08                Transfer to Acct #*******2619                  Bank Funds Transfer                             9999-000                                           281.31             67,979.28
          02/12/08                Transfer from Acct #*******2619                Bank Funds Transfer                             9999-000               20,000.00                                      87,979.28
          02/29/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.500                             1270-000                     31.86                                    88,011.14
          03/05/08                Transfer from Acct #*******2619                Bank Funds Transfer                             9999-000                    281.31                                    88,292.45
          03/07/08                Transfer to Acct #*******2619                  Bank Funds Transfer                             9999-000                                           101.53             88,190.92
          03/31/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.400                             1270-000                     33.97                                    88,224.89
          04/30/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.400                             1270-000                     28.93                                    88,253.82
          05/30/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.250                             1270-000                     18.68                                    88,272.50
          06/19/08                Transfer from Acct #*******2619                Bank Funds Transfer                             9999-000               11,803.32                                  100,075.82
 *        06/19/08                Transfer to Acct #*******2619                  Bank Funds Transfer                             9999-003                                      11,803.32               88,272.50
 *        06/19/08                Reverses Transfer on 06/19/08                  Bank Funds Transfer                             9999-003                                      -11,803.32          100,075.82



                                                                                                                           Page Subtotals               34,151.42                  12,126.18
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             01:06-10733 -GM                                                                                     Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                 Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******2606 BofA - Money Market Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                              Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                             3                                                 4                                            5                       6                 7
     Transaction      Check or                                                                                                    Uniform                                                    Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)     Balance ($)
          06/30/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.250                             1270-000                     19.06                              100,094.88
          07/29/08     000102     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                    2300-000                                           15.14        100,079.74
                                  SUITE 500
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          07/31/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.250                             1270-000                     21.19                              100,100.93
          08/27/08                Transfer from Acct #*******3223                Bank Funds Transfer                     9999-000                           5,250.00                             105,350.93
                                                                                 8/27/08 TRANSFER FUNDS TO MMF PER COURT
                                                                                 ORDER DATED,8/15/08
          08/27/08                Transfer from Acct #*******3210                Bank Funds Transfer                             9999-000               60,000.00                                165,350.93
                                                                                 8/27/08 FUNDS TRANSFERRED TO MMF PER
                                                                                 COURT ORDER DATED 8/15/08
          08/29/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.250                             1270-000                     23.42                              165,374.35
          09/30/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.250                             1270-000                     33.90                              165,408.25
          10/31/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.200                             1270-000                     30.05                              165,438.30
          11/28/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.200                             1270-000                     27.11                              165,465.41
          12/30/08                Transfer from Acct #*******3333                Bank Funds Transfer                             9999-000                   2,112.00                             167,577.41
          12/30/08                Transfer from Acct #*******3317                Bank Funds Transfer                             9999-000               29,866.00                                197,443.41
          12/31/08      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.020                             1270-000                     16.68                              197,460.09
          01/19/09                Transfer from Acct #*******3456                Bank Funds Transfer                             9999-000                   4,085.00                             201,545.09
          01/30/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.020                             1270-000                        3.38                            201,548.47
          02/27/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.020                             1270-000                        3.09                            201,551.56
          03/31/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.020                             1270-000                        3.42                            201,554.98
          04/17/09                Transfer from Acct #*******3485                Bank Funds Transfer                             9999-000               35,000.00                                236,554.98
 *        04/17/09     000103     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                    2300-004                                          293.10        236,261.88
                                  SUITE 500
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          04/30/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                             1270-000                        8.95                            236,270.83


                                                                                                                           Page Subtotals              136,503.25                   308.24
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                  Exhibit 9
  Case No:             01:06-10733 -GM                                                                                            Trustee Name:                    DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                        Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                                  Account Number / CD #:           *******2606 BofA - Money Market Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                                     Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                             3                                                  4                                                  5                       6                  7
     Transaction      Check or                                                                                                           Uniform                                                     Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction                Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
 *        05/26/09     000103     INTERNATIONAL SURETIES, LTD.                   Stop Payment Reversal                                  2300-004                                          -293.10        236,563.93
                                  SUITE 500                                      STOP PAY ADD SUCCESSFUL
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          05/29/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.050                                    1270-000                   10.04                                 236,573.97
 *        05/29/09     000104     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                           2300-003                                          256.15         236,317.82
                                  SUITE 420
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
 *        05/29/09     000104     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                           2300-003                                          -256.15        236,573.97
                                  SUITE 420                                      Funds should be transferred to checking before
                                  701 POYDRAS ST.                                issuing check
                                  NEW ORLEANS, LA 70139
          05/29/09                Transfer to Acct #*******2619                  Bank Funds Transfer                                    9999-000                                          256.15         236,317.82
          06/30/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                                    1270-000                        9.96                             236,327.78
          06/30/09                Transfer from Acct #*******2619                Bank Funds Transfer                                    9999-000               60,000.00                                 296,327.78
 *        07/07/09     000105     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                           2300-003                                           15.48         296,312.30
                                  SUITE 420
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
 *        07/23/09     000105     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                           2300-003                                           -15.48        296,327.78
                                  SUITE 420
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
          07/23/09                Transfer to Acct #*******2619                  Bank Funds Transfer                                    9999-000                                           38.94         296,288.84
          07/31/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                                    1270-000                   17.62                                 296,306.46
          08/31/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                                    1270-000                   17.62                                 296,324.08
          09/30/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                                    1270-000                   17.05                                 296,341.13
          10/30/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                                    1270-000                   17.61                                 296,358.74


                                                                                                                                  Page Subtotals               60,089.90                      1.99
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             01:06-10733 -GM                                                                                     Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                 Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******2606 BofA - Money Market Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                              Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                             3                                                 4                                            5                       6                 7
    Transaction       Check or                                                                                                    Uniform                                                    Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)      Balance ($)
          11/30/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.06                              296,375.80
          12/31/09      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.62                              296,393.42
          01/05/10                Transfer to Acct #*******2619                  Bank Funds Transfer                             9999-000                                          374.00        296,019.42
          01/29/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.60                              296,037.02
          02/26/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     15.90                              296,052.92
          03/31/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.61                              296,070.53
          04/30/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.03                              296,087.56
          05/28/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.60                              296,105.16
          06/30/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.04                              296,122.20
          07/30/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.60                              296,139.80
          08/31/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.61                              296,157.41
          09/30/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     17.04                              296,174.45
          10/15/10                Transfer from Acct #*******2619                Bank Funds Transfer                             9999-000              225,000.00                                521,174.45
          10/29/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     24.93                              521,199.38
          11/30/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     30.00                              521,229.38
          12/07/10                Transfer from Acct #*******2619                Bank Funds Transfer                             9999-000              177,266.50                                698,495.88
          12/31/10      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     39.49                              698,535.37
          01/28/11     000106     INTERNATIONAL SURETIES, LTD.                   Blanket Bond Premium                            2300-000                                          932.17        697,603.20
                                  SUITE 420                                      Allocation of Blanket Bond Premium
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
          01/31/11      INT       BANK OF AMERICA, N.A.                          Interest Rate 0.070                             1270-000                     41.53                              697,644.73
          05/24/11                Transfer from Acct #*******2619                Bank Funds Transfer                             9999-000                   8,468.42                             706,113.15
          05/25/11                Transfer to Acct #*******5314                  Final Posting Transfer                          9999-000                                      706,113.15                 0.00




                                                                                                                           Page Subtotals              411,060.58               707,419.32
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             01:06-10733 -GM                                                                                   Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                               Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:             *******2606 BofA - Money Market Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                            Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


          1               2                             3                                            4                                               5                       6                  7
    Transaction       Check or                                                                                                  Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                                                                                     COLUMN TOTALS                                   741,765.04              741,765.04                  0.00
                                                                                                         Less: Bank Transfers/CD's                   739,214.04              740,817.73
                                                                                                     Subtotal                                             2,551.00               947.31
                                                                                                         Less: Payments to Debtors                                                 0.00
                                                                                                     Net
                                                                                                                                                          2,551.00               947.31




                                                                                                                         Page Subtotals                        0.00                  0.00
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             01:06-10733 -GM                                                                                     Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                 Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******2619 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                              Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                                4                                           5                       6                    7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                 BALANCE FORWARD                                                                                                               0.00
          06/02/06        6       Unum Life Insurance Company of America         Insurance Premium Refund                        1129-000                    992.17                                       992.17
                                  2211 Congress Street
                                  Portland, ME 04122-001
          06/02/06        3       Preferred Bank                                 Balance of debtor's bank account                1129-000               81,164.49                                       82,156.66
                                  Century City Regional Offiice
                                  1801 Century Park East
                                  Los Angeles, CA 90067
          06/09/06                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                       82,156.66                      0.00
          06/15/06        1       US Bank                                        Balance of debtor's investment acct             1129-000                    173.84                                       173.84
                                  PO Box 9476
                                  Minneapolis, MN 55480
          06/20/06                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                           173.84                     0.00
          06/28/06        5       Emdeon Corp.                                   Deposit refund- Postage                         1290-000               10,000.00                                       10,000.00
                                  669 River Drive
                                  Center Two
                                  Elmwood Park, NJ 07407-1361
          06/30/06      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.300                             1270-000                        5.69                                   10,005.69
          07/06/06        7       DOLORES ROSS                                   Petty Cash                                      1290-000                     54.86                                     10,060.55
          07/06/06                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                       10,005.69                     54.86
          07/10/06                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                            54.86                     0.00
          07/24/06                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                     35.43                                           35.43
          07/24/06     001001     INTERNATIONAL SURETIES LTD                     Blanket Bond Premium                            2300-000                                            35.43                     0.00
                                  SUITE 500                                      Allocation of Blanket Bond Premium
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          07/31/06      INT       BANK OF AMERICA, N.A.                          Interest Rate 1.300                             1270-000                        1.04                                          1.04
          08/29/06                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                              1.04                    0.00
          09/08/06        5       Emdeon Corporation                             DEPOSIT REFUND - POSTAGE                        1290-000                   5,551.62                                     5,551.62


                                                                                                                           Page Subtotals               97,979.14                  92,427.52
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             01:06-10733 -GM                                                                                          Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                      Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                                Account Number / CD #:             *******2619 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                                   Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1              2                               3                                                  4                                              5                       6                    7
    Transaction       Check or                                                                                                         Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                           Description Of Transaction           Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  669 River Drive
                                  Center Two
                                  Elmwood Park, NJ 07407-1361
          10/03/06        6       Blue Shield of California                       Refund of insurance premium                         1129-000                    814.10                                      6,365.72
                                  50 beale Street
                                  San Francisco, CA 94105
          10/09/06                Transfer to Acct #*******2606                   Bank Funds Transfer                                 9999-000                                          6,365.72                   0.00
          11/06/06        8       State of California                             Tax refund                                          1224-000                    278.16                                       278.16
          11/07/06                Transfer to Acct #*******2606                   Bank Funds Transfer                                 9999-000                                           278.16                    0.00
          01/03/07                Transfer from Acct #*******2606                 Bank Funds Transfer                                 9999-000                    198.88                                       198.88
          01/03/07     001002     INTERNATIONAL SURETIES, LTD                     Blanket Bond Premium                                2300-000                                           198.88                    0.00
                                  SUITE 500                                       Allocation of Blanket Bond Premium
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          01/23/07                Transfer from Acct #*******2606                 Bank Funds Transfer                                 9999-000                   9,075.00                                     9,075.00
          01/23/07     001003     Storage Etc.                                    Storage Fees                                        2410-000                                          9,075.00                   0.00
                                  6030 Canoga Avenue
                                  Woodland Hills, CA 91367
          02/27/07                Transfer from Acct #*******2606                 Bank Funds Transfer                                 9999-000                    800.00                                       800.00
          02/27/07     001004     eMag Solutions, LLC                             conversion of computer tapes           3420-000                                                        800.00                    0.00
                                  P.O. Box 64911                                  FOR SERVICES RENDERED DURING JANUARY
                                  Baltimore, MD 21264-4911                        2007 IN CONNECTION WITH CONVERSION AND
                                                                                  RESTORATION OF MERIDIAN HEALTHCARE
                                                                                  COMPUTER TAPES
          03/13/07                Transfer from Acct #*******2606                 Bank Funds Transfer                                 9999-000                   1,300.00                                     1,300.00
          03/13/07     001005     Paychex, Inc.                                   W2 PREPARATION                                      2990-000                                          1,300.00                   0.00
                                  5280 Valentine Road                             Year end W-2 processing and 1st. & 2nd. quarter
                                  Ventura, CA 93003                               Form 941
          03/15/07                Transfer from Acct #*******2606                 Bank Funds Transfer                                 9999-000               10,500.00                                       10,500.00


                                                                                                                                Page Subtotals               22,966.14                  18,017.76
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             01:06-10733 -GM                                                                                     Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                 Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******2619 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                              Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                             3                                                  4                                           5                       6                    7
    Transaction       Check or                                                                                                    Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          03/15/07     001006     MILTON BEARD                                   FIELD ADJUSTER                                  2990-000                                       10,500.00                     0.00
                                  12021 WILSHIRE BLVD. STE 171                   INVENTORY - MERIDIAN HEALTHCARE, INC
                                  LOS ANGELES, CA 90025
          05/02/07                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                   5,475.37                                    5,475.37
          05/02/07     001007     eMAG SOLUTIONS, lLLC                           conversion of computer tapes         3420-000                                                     5,475.37                   0.00
                                  P.O. BOX 64911                                 CONVERTING MERIDIAN MAS90 ACCOUNTING
                                  BALTIMORE, MD 21264-4911                       DATA TO EXCEL FORMAT PER BUDGET
                                                                                 MOTION
          05/09/07                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                   6,252.00                                    6,252.00
          05/09/07     001008     STORAGE ETC.                                   RENT THRU 5/31/07                               2410-000                                          6,252.00                   0.00
                                  6030 CANOGA AVE
                                  WOODLAND HILLS, CA 91367
          09/12/07                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                        3.30                                         3.30
          09/12/07     001009     INTERNATIONAL SURETIES, LTD.                   Blanket Bond Premium                            2300-000                                              3.30                   0.00
                                  SUITE 500                                      Allocation of Blanket Bond Premium
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          09/19/07                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                     11.89                                          11.89
          09/19/07     001010     INTERNATIONAL SURETIES, LTD.                   Blanket Bond Premium                            2300-000                                            11.89                    0.00
                                  SUITE 500                                      Allocation of Blanket Bond Premium
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          11/14/07                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                        0.78                                         0.78
          11/14/07     001011     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                    2300-000                                              0.78                   0.00
                                  SUITE 500
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          01/18/08       18       Bergeson, LLP                                  Deposit refund-legal services                   1229-000                   1,045.52                                    1,045.52
          01/22/08                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                          1,045.52                   0.00


                                                                                                                           Page Subtotals               12,788.86                  23,288.86
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             01:06-10733 -GM                                                                                     Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                 Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******2619 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                              Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                              3                                                  4                                          5                       6                    7
     Transaction      Check or                                                                                                    Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
          02/04/08                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                    281.31                                       281.31
          02/04/08     001012     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                    2300-000                                           281.31                    0.00
                                  SUITE 500
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          02/11/08       19       Emdeon Business Services                       Preference Litigation Settlement                1241-000               20,000.00                                       20,000.00
          02/12/08                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                      20,000.00                      0.00
          03/05/08                GLOBAL SURETY LLC                              BOND PREMIUM REFUND                             2300-000                                           -281.31               281.31
                                  203 CARONDELET STREET, SUITE 500
                                  NEW ORLEANS, LA 70130
          03/05/08                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                           281.31                    0.00
          03/07/08                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                    101.53                                       101.53
          03/07/08     001013     INTERNATIONAL SURETIES, LTD.                   Blanket Bond Premium                            2300-000                                           101.53                    0.00
                                  SUITE 500                                      Allocation of Blanket Bond Premium
                                  203 CARONDELET ST.
                                  NEW ORLEANS, LA 70130
          05/28/08       20       Hunter Richey Di Denedetto & Eisenbeis         Pymt of Preference claim                        1241-000                   4,500.00                                     4,500.00
          06/13/08       21       Iron Mountain                                  PAYMENT PER STIPULATION                         1241-000                   7,303.32                                    11,803.32
 *        06/19/08                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-003               11,803.32                                       23,606.64
 *        06/19/08                Reverses Transfer on 06/19/08                  Bank Funds Transfer                             9999-003              -11,803.32                                       11,803.32
          06/19/08                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                      11,803.32                      0.00
          05/29/09                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                    256.15                                       256.15
          05/29/09     001014     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                    2300-000                                           256.15                    0.00
                                  SUITE 420
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
          06/19/09                MERIDIAN HEALTH CARE MANAGEMENT INC            SETTLEMENT PAYMENT PER STIPULATION              1241-000               60,000.00                                       60,000.00
                                  6200 CANOGA AVENUE
                                  WOODLAND HILLS, CA 91367-2450


                                                                                                                           Page Subtotals               92,442.31                  32,442.31
                                                                                                                                                                                                        Ver: 16.05c
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             01:06-10733 -GM                                                                                     Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                 Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:             *******2619 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                              Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                             3                                                  4                                           5                       6                    7
    Transaction       Check or                                                                                                    Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          06/30/09                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                       60,000.00                     0.00
          07/23/09                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                     38.94                                        38.94
          07/23/09     001015     INTERNATIONAL SURETIES, LTD.                   Blanket Bond Premium                            2300-000                                            38.94                    0.00
                                  SUITE 420                                      Allocation of Blanket Bond Premium
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
          01/05/10                Transfer from Acct #*******2606                Bank Funds Transfer                             9999-000                    374.00                                       374.00
          01/05/10     001016     INTERNATIONAL SURETIES, LTD.                   BOND PREMIUM                                    2300-000                                           374.00                    0.00
                                  SUITE 420
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
          10/13/10       28       E4E, INC                                       per court order dated 9/28/10                   1241-000              225,000.00                                   225,000.00
                                  3979 FREEDOM CIRCLE SUITE 610
                                  SANTA CLARA, CA 95054
          10/15/10                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                      225,000.00                     0.00
          12/03/10       13       RSUI INDEMNITY COMPANY                         PER COURT ORDER DATED 11/24/10                  1249-000              177,266.50                                   177,266.50
                                  945 EAST PACES FERRY ROAD
                                  SUITE 1800
                                  ATLANTA, GA 30326-1125
          12/07/10                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                      177,266.50                     0.00
          05/11/11       31       Continental Casualty Company                   REFUND                                          1290-000                   7,830.66                                    7,830.66
                                  2405 Lucien Way
                                  Maitland, FL 32751
          05/11/11       30       AT&T                                           REFUND                                          1290-000                    637.76                                     8,468.42
                                  JP Morgan Chase Bank N.A.
          05/24/11                Transfer to Acct #*******2606                  Bank Funds Transfer                             9999-000                                          8,468.42                   0.00




                                                                                                                           Page Subtotals              411,147.86               471,147.86
                                                                                                                                                                                                        Ver: 16.05c
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             01:06-10733 -GM                                                                                   Trustee Name:                    DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                               Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******2619 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


          1               2                             3                                            4                                               5                       6                  7
    Transaction       Check or                                                                                                  Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                                                                                     COLUMN TOTALS                                   637,324.31              637,324.31                   0.00
                                                                                                         Less: Bank Transfers/CD's                    34,704.58              602,901.04
                                                                                                     Subtotal                                        602,619.73               34,423.27
                                                                                                         Less: Payments to Debtors                                                 0.00
                                                                                                     Net
                                                                                                                                                     602,619.73               34,423.27




                                                                                                                         Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                    Ver: 16.05c
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             01:06-10733 -GM                                                                                         Trustee Name:                    DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                     Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:           *******3210 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                                  Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                             3                                                  4                                               5                     6                    7
    Transaction       Check or                                                                                                        Uniform                                                    Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                0.00
          07/15/08       23       American Express                               Preference Litigation Settlement                    1241-000               60,000.00                                     60,000.00
          08/27/08                Transfer to Acct #*******2606                  Bank Funds Transfer                                 9999-000                                    60,000.00                      0.00
                                                                                 8/27/08 FUNDS TRANSFERRED TO MMF PER
                                                                                 COURT ORDER DATED 8/15/08

                                                                                                           COLUMN TOTALS                                    60,000.00            60,000.00                       0.00
                                                                                                               Less: Bank Transfers/CD's                         0.00            60,000.00
                                                                                                           Subtotal                                         60,000.00                    0.00
                                                                                                               Less: Payments to Debtors                                                 0.00
                                                                                                           Net
                                                                                                                                                            60,000.00                    0.00




                                                                                                                               Page Subtotals               60,000.00                60,000.00
                                                                                                                                                                                                          Ver: 16.05c
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             01:06-10733 -GM                                                                                         Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                     Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:             *******3223 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                                  Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                             3                                                  4                                               5                       6                    7
    Transaction       Check or                                                                                                        Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                  0.00
          07/15/08       22       Bergelson, LLP                                 Preference Litigation Settlement                    1241-000                   5,250.00                                    5,250.00
          08/27/08                Transfer to Acct #*******2606                  Bank Funds Transfer                     9999-000                                                      5,250.00                   0.00
                                                                                 8/27/08 TRANSFER FUNDS TO MMF PER COURT
                                                                                 ORDER DATED,8/15/08

                                                                                                           COLUMN TOTALS                                        5,250.00               5,250.00                    0.00
                                                                                                               Less: Bank Transfers/CD's                            0.00               5,250.00
                                                                                                           Subtotal                                             5,250.00                   0.00
                                                                                                               Less: Payments to Debtors                                                   0.00
                                                                                                           Net
                                                                                                                                                                5,250.00                   0.00




                                                                                                                               Page Subtotals                   5,250.00                5,250.00
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             01:06-10733 -GM                                                                                   Trustee Name:                    DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                               Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******3294 BofA - Money Market Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


          1               2                             3                                            4                                               5                       6                  7
    Transaction       Check or                                                                                                  Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                 BALANCE FORWARD                                                                                                          0.00

                                                                                                     COLUMN TOTALS                                         0.00                     0.00                   0.00
                                                                                                         Less: Bank Transfers/CD's                         0.00                     0.00
                                                                                                     Subtotal                                              0.00                     0.00
                                                                                                         Less: Payments to Debtors                                                  0.00
                                                                                                     Net
                                                                                                                                                           0.00                     0.00




                                                                                                                         Page Subtotals                        0.00                  0.00
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             01:06-10733 -GM                                                                                         Trustee Name:                    DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                     Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:           *******3317 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                                  Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                             3                                                  4                                               5                     6                    7
    Transaction       Check or                                                                                                        Uniform                                                    Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                0.00
          11/07/08       24       Triana at Warner Center                        Preference Litigation Settlement                    1241-000               29,866.00                                     29,866.00
                                  (UNIRE Real Estate Group)
          12/30/08                Transfer to Acct #*******2606                  Bank Funds Transfer                                 9999-000                                    29,866.00                      0.00

                                                                                                           COLUMN TOTALS                                    29,866.00            29,866.00                       0.00
                                                                                                               Less: Bank Transfers/CD's                         0.00            29,866.00
                                                                                                           Subtotal                                         29,866.00                    0.00
                                                                                                               Less: Payments to Debtors                                                 0.00
                                                                                                           Net
                                                                                                                                                            29,866.00                    0.00




                                                                                                                               Page Subtotals               29,866.00                29,866.00
                                                                                                                                                                                                          Ver: 16.05c
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             01:06-10733 -GM                                                                                            Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                        Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                                  Account Number / CD #:             *******3333 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                                     Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                                3                                                  4                                               5                       6                    7
    Transaction       Check or                                                                                                           Uniform                                                      Account / CD
       Date           Reference                  Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                    BALANCE FORWARD                                                                                                                  0.00
          11/10/08       25       Paychex, Inc                                      Preference Litigation Settlement                    1241-000                   2,112.00                                    2,112.00
          12/30/08                Transfer to Acct #*******2606                     Bank Funds Transfer                                 9999-000                                          2,112.00                   0.00

                                                                                                              COLUMN TOTALS                                        2,112.00               2,112.00                    0.00
                                                                                                                  Less: Bank Transfers/CD's                            0.00               2,112.00
                                                                                                              Subtotal                                             2,112.00                   0.00
                                                                                                                  Less: Payments to Debtors                                                   0.00
                                                                                                              Net
                                                                                                                                                                   2,112.00                   0.00




                                                                                                                                  Page Subtotals                   2,112.00                2,112.00
                                                                                                                                                                                                               Ver: 16.05c
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             01:06-10733 -GM                                                                                         Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                     Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                               Account Number / CD #:             *******3456 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                                  Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1              2                              3                                                 4                                               5                       6                    7
    Transaction       Check or                                                                                                        Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                  0.00
          12/05/08       26       Edmund jung & Associates, Inc.                 Preference Litigation Settlement                    1241-000                   4,085.00                                    4,085.00
          01/19/09                Transfer to Acct #*******2606                  Bank Funds Transfer                                 9999-000                                          4,085.00                   0.00

                                                                                                           COLUMN TOTALS                                        4,085.00               4,085.00                    0.00
                                                                                                               Less: Bank Transfers/CD's                            0.00               4,085.00
                                                                                                           Subtotal                                             4,085.00                   0.00
                                                                                                               Less: Payments to Debtors                                                   0.00
                                                                                                           Net
                                                                                                                                                                4,085.00                   0.00




                                                                                                                               Page Subtotals                   4,085.00                4,085.00
                                                                                                                                                                                                            Ver: 16.05c
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                              Exhibit 9
  Case No:             01:06-10733 -GM                                                                                          Trustee Name:                    DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                      Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                                Account Number / CD #:           *******3485 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                                   Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1              2                               3                                                 4                                               5                     6                    7
    Transaction       Check or                                                                                                         Uniform                                                    Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)      Disbursements ($)         Balance ($)
                                                                                  BALANCE FORWARD                                                                                                                0.00
          03/25/09       27       Affiliated Computer Services, Inc.              Preference Litigation Settlement                    1241-000               35,000.00                                     35,000.00
                                  2828 N. Haskell
                                  Dallas, TX 75204
          04/17/09                Transfer to Acct #*******2606                   Bank Funds Transfer                                 9999-000                                    35,000.00                      0.00

                                                                                                            COLUMN TOTALS                                    35,000.00            35,000.00                       0.00
                                                                                                                Less: Bank Transfers/CD's                         0.00            35,000.00
                                                                                                            Subtotal                                         35,000.00                    0.00
                                                                                                                Less: Payments to Debtors                                                 0.00
                                                                                                            Net
                                                                                                                                                             35,000.00                    0.00




                                                                                                                                Page Subtotals               35,000.00                35,000.00
                                                                                                                                                                                                           Ver: 16.05c
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             01:06-10733 -GM                                                                                    Trustee Name:                      DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                Bank Name:                         BANK OF AMERICA, N.A.
                                                                                                                          Account Number / CD #:             *******5301 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                             Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                             3                                                4                                            5                       6                    7
     Transaction      Check or                                                                                                   Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                 BALANCE FORWARD                                                                                                             0.00
          05/25/11       32       QUEST DIAGNOSTIC INC.                          REFUND                                         1290-000                    166.49                                       166.49
                                  PO BOX 5001
                                  COLLEGEVILLE, PA 19426-0901
          05/31/11                Transfer to Acct #*******5314                  Bank Funds Transfer                            9999-000                                           166.49                    0.00
          06/22/11                Transfer from Acct #*******5314                Bank Funds Transfer                            9999-000                   2,500.00                                    2,500.00
          06/22/11     001001     TOTAL SHREDDING LLC                            PER COURT ORDER DATED 6/9/11                   3992-000                                          2,500.00                   0.00
                                  2646 RIVER AVE. UNIT A                         SHREDDING MERIDIAN HEALTHCARE MGMT
                                  ROSEMEAD, CA 91770                             CO. DOCUMENTS. CERTIFICSTE OF
                                                                                 DESTRUCTION ON FILE.
          07/18/11       33       WELLS FARGO BANK, N.A.                         SALE OF PERSONAL PROPERTY                      1229-000                   8,479.64                                    8,479.64
                                  1220 CLEVELAND AVE.
                                  SAN DIEGO, CA 92103
          08/10/11                Transfer to Acct #*******5314                  Bank Funds Transfer                            9999-000                                          8,479.64                   0.00
          11/29/11       10       THE PERMANENTE FEDERATION, LLC                 PARTNERSHIP DISTRIBUTION                       1129-000                   8,577.41                                    8,577.41
                                  1 KAISER PLACE, 22ND FLOOR
                                  OAKLAND, CA 94612
          11/30/11                Transfer to Acct #*******5314                  Bank Funds Transfer                            9999-000                                          8,577.41                   0.00
          12/19/11                Transfer from Acct #*******5314                Transfer In From MMA Account                   9999-000              720,836.69                                   720,836.69
 *        12/20/11     001002     INTERNATIONAL SURETIES, LTD.                   BLANKET BOND PREMIUM                           2300-003                                           901.83          719,934.86
                                  SUITE 420                                      Allocation of Blanket Bond Premium
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
 *        12/23/11     001002     INTERNATIONAL SURETIES, LTD.                   BLANKET BOND PREMIUM                           2300-003                                           -901.83         720,836.69
                                  SUITE 420
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
          01/19/12     001003     DAVID R. HAGEN                                 Chapter 7 Compensation/Fees                    2100-000                                      41,185.36            679,651.33
                                  6320 CANOGA AVENUE, SUITE1400


                                                                                                                          Page Subtotals              740,560.23                  60,908.90
                                                                                                                                                                                                       Ver: 16.05c
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             01:06-10733 -GM                                                                                     Trustee Name:                    DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                 Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                           Account Number / CD #:           *******5301 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                              Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                             3                                                  4                                           5                       6                  7
    Transaction       Check or                                                                                                    Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                  WOODLAND HILLS, CA 91367
          01/19/12     001004     DAVID R. HAGEN                                 Chapter 7 Expenses                              2200-000                                          2,946.81       676,704.52
                                  6320 CANOGA AVENUE, SUITE1400
                                  WOODLAND HILLS, CA 91367
          01/19/12     001005     EZRA BRUTZKUS GUBNER LLP                       Attorney for Trustee Fees (Other Fi             3210-000                                      594,790.06             81,914.46
                                  21650 OXNARD STREET SUITE 500
                                  WOODLAND HILLS, CA 91367
          01/19/12     001006     EZRA BRUTZKUS GUBNER LLP                       Attorney for Trustee Expenses (Othe             3220-000                                       22,392.79             59,521.67
                                  21650 OXNARD STREET SUITE 500
                                  WOODLAND HILLS, CA 91367
          01/19/12     001007     BIGGS & COMPANY                                Accountant for Trustee Fees (Other              3410-000                                       53,142.24              6,379.43
                                  3250 OCEAN PARK BLVD. SUITE 350
                                  SANTA MONICA, CA 90405
          01/19/12     001008     BIGGS & COMPANY                                Accountant for Trustee Expenses (Ot             3420-000                                          1,300.15            5,079.28
                                  3250 OCEAN PARK BLVD. SUITE 350
                                  SANTA MONICA, CA 90405
          01/19/12     001009     U.S. BANKRUPTCY COURT                          Clerk of the Courts Costs (includes             2700-000                                          4,250.00             829.28
                                  21041 BURBANK BLVD.
                                  WOODLAND HILLS, CA 91367
          01/19/12     001010     STATE OF CALIFORNIA                            Claim 000059, Payment 100.00000%                2820-000                                           829.28                  0.00
                                  FRANCHISE TAX BOARD
                                  SPECIAL PROCEDURES SECTION
                                  P.O. BOX 2952
                                  SACRAMENTO, CA 95812-2952




                                                                                                                           Page Subtotals                        0.00           679,651.33
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             01:06-10733 -GM                                                                                   Trustee Name:                    DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                               Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                         Account Number / CD #:           *******5301 BofA - Checking Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


          1               2                             3                                            4                                               5                       6                  7
    Transaction       Check or                                                                                                  Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                                                                                     COLUMN TOTALS                                   740,560.23              740,560.23                   0.00
                                                                                                         Less: Bank Transfers/CD's                   723,336.69               17,223.54
                                                                                                     Subtotal                                         17,223.54              723,336.69
                                                                                                         Less: Payments to Debtors                                                 0.00
                                                                                                     Net
                                                                                                                                                      17,223.54              723,336.69




                                                                                                                         Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                    Ver: 16.05c
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                        Exhibit 9
  Case No:             01:06-10733 -GM                                                                                        Trustee Name:                       DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                                    Bank Name:                          BANK OF AMERICA, N.A.
                                                                                                                              Account Number / CD #:              *******5314 BofA - Money Market Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                                 Blanket Bond (per case limit):      $ 5,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                             3                                                 4                                                 5                         6                         7
    Transaction       Check or                                                                                                       Uniform                                                              Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)             Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                          0.00
          05/25/11                Transfer from Acct #*******2606                Transfer In From MMA Account                       9999-000                706,113.15                                          706,113.15
          05/31/11                Transfer from Acct #*******5301                Bank Funds Transfer                                9999-000                     166.49                                         706,279.64
          06/22/11                Transfer to Acct #*******5301                  Bank Funds Transfer                                9999-000                                              2,500.00              703,779.64
          08/10/11                Transfer from Acct #*******5301                Bank Funds Transfer                                9999-000                    8,479.64                                        712,259.28
          10/31/11                BANK OF AMERICA, N.A.                          BANK SERVICE FEE                                   2600-000                                               907.40               711,351.88
          11/09/11                BANK OF AMERICA                                REVERSAL OF BANKING FEES                           2600-000                     907.40                                         712,259.28
          11/30/11                Transfer from Acct #*******5301                Bank Funds Transfer                                9999-000                    8,577.41                                        720,836.69
          12/19/11                Transfer to Acct #*******5301                  Final Posting Transfer                             9999-000                                         720,836.69                           0.00

                                                                                                          COLUMN TOTALS                                    724,244.09                 724,244.09                           0.00
                                                                                                              Less: Bank Transfers/CD's                    723,336.69                 723,336.69
                                                                                                          Subtotal                                               907.40                    907.40
                                                                                                              Less: Payments to Debtors                                                      0.00
                                                                                                          Net
                                                                                                                                                                 907.40                    907.40
                                                                                                                                                                                  NET                           ACCOUNT
                                                                                                          TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                      BALANCE
                                                                                               BofA - Money Market Account - ********2606                      2,551.00                     947.31                         0.00
                                                                                                   BofA - Checking Account - ********2619                   602,619.73                   34,423.27                         0.00
                                                                                                   BofA - Checking Account - ********3210                     60,000.00                         0.00                       0.00
                                                                                                   BofA - Checking Account - ********3223                      5,250.00                         0.00                       0.00
                                                                                               BofA - Money Market Account - ********3294                            0.00                       0.00                       0.00
                                                                                                   BofA - Checking Account - ********3317                     29,866.00                         0.00                       0.00
                                                                                                   BofA - Checking Account - ********3333                      2,112.00                         0.00                       0.00
                                                                                                   BofA - Checking Account - ********3456                      4,085.00                         0.00                       0.00
                                                                                                   BofA - Checking Account - ********3485                     35,000.00                         0.00                       0.00
                                                                                                   BofA - Checking Account - ********5301                     17,223.54                723,336.69                          0.00
                                                                                               BofA - Money Market Account - ********5314                        907.40                     907.40                         0.00
                                                                                                                                                  ------------------------   ------------------------   ------------------------
                                                                                                                                                            759,614.67                 759,614.67                          0.00


                                                                                                                              Page Subtotals                724,244.09                 724,244.09
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                       Exhibit 9
  Case No:             01:06-10733 -GM                                                                                Trustee Name:                    DAVID R. HAGEN
  Case Name:           MERIDIAN HEALTH CARE MANAGEMENT INC                                                            Bank Name:                       BANK OF AMERICA, N.A.
                                                                                                                      Account Number / CD #:           *******5314 BofA - Money Market Account
  Taxpayer ID No:    *******2947
  For Period Ending: 02/27/12                                                                                         Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                      Separate Bond (if applicable):


          1               2                             3                                            4                                            5                       6                    7
    Transaction       Check or                                                                                               Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                                                                          ==============           ==============        ==============
                                                                                                                                           (Excludes Account       (Excludes Payments          Total Funds
                                                                                                                                                   Transfers)             To Debtors)            On Hand




                                                                                                                      Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                   Ver: 16.05c
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